
786 N.W.2d 875 (2010)
Tracy NEAL, on behalf of herself and all others similarly situated, Plaintiffs-Appellees,
v.
DEPARTMENT OF CORRECTIONS, Kenneth McGinnis, Joan Yukins, Sally Langley, Carol Howes, Robert Salis, Cornell Howard, Martin Tate, Thomas Portman, William Ellison, Christopher Gallagher, Roderick Robey, William Overton, Clarice Stovall, Nancy Zang, John Andrews, Jan Baldwin, Wes Bonney, David Crukshank, Joseph Durigon, David Habitz, Edward Hook, Jack Hutchins, Dennis Iford, Derle Jones, Art Lancaster, Erin Richardson, Anthony Simmons, Fred Welch, Lynn Williams, Charles Williams, Defendants-Appellants.
Docket No. 13895. COA No. 285232.
Supreme Court of Michigan.
September 1, 2010.

Order
On order of the Chief Justice, a stipulation signed by counsel for the parties agreeing to the dismissal of the application for leave to appeal is considered and the application for leave to appeal is DISMISSED with prejudice and without costs.
